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                            THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 MELISSA CONRAD,                                :
                                                :
                     Plaintiff,                 :      CASE NO. 2:21-cv-1856
                                                :
         v.                                     :      JUDGE
                                                :
 WALLICK PROPERTIES                             :      MAGISTRATE JUDGE
 MIDWEST LLC,                                   :
 c/o Registered Agent Solutions, Inc.           :      JURY DEMAND ENDORSED HEREON
 4568 Mayfield Road, Suite 204                  :
 Cleveland, OH 44121                            :
                                                :
                      Defendant.                :

                    PLAINTIFF’S COMPLAINT FOR VIOLATIONS OF
                       THE FAMILY AND MEDICAL LEAVE ACT

         Now comes Plaintiff Melissa Conrad (“Plaintiff” or “Conrad”) for her complaint against

Defendant Wallick Properties Midwest LLC (“Defendant” or “Wallick”) for violations of the

Family and Medical Leave Act (“FMLA”), 29 U.S.C. §§2601, et seq., who, based on personal

knowledge as to her own conduct and made on information and belief as to the acts of others,

hereby states as follows:

I.       JURISDICTION AND VENUE

         1.     The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331 for violations

of the FMLA. Plaintiff brings this action to obtain relief provided in the FMLA as a result of

retaliation and interference, which has resulted in loss of wages, compensation, and benefits.

         2.     Venue is proper in this forum pursuant to 28 U.S.C. § 1391 because Plaintiff entered

into an employment relationship with Defendant in Madison County, Ohio, which is in the

Southern District of Ohio; a substantial part of the events or omission giving rise to the claim
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occurred in the Southern District of Ohio; and Defendant has conducted substantial business in the

Southern District of Ohio, to wit, at 160 West Main Street, Suite 200, New Albany, Ohio 43054.

II.    PARTIES

       3.      Plaintiff is an individual and resident of the Southern District of Ohio Ohio.

Plaintiff brings this action to redress injuries committed against her as a result of Defendant’s

actions.

       4.      At all times relevant herein, Plaintiff was an “eligible employee” as defined in the

FMLA in that she was employed by Defendant for at least twelve (12) months and for at least

1,250 hours of service during the twelve (12) months before she sought FMLA leave from

Defendant.

       5.      Defendant is a domestic limited liability company authorized to do business in

Ohio, conducts business in the Southern District of Ohio, and has its principal place of business in

the Southern District of Ohio.

       6.      During relevant times, Defendant maintained control, oversight, and direction over

Plaintiff, including the promulgation and enforcement of policies affecting FMLA medical leave

and other matters relevant to this action.

       7.      At all times material herein, Defendant was an “employer” of Plaintiff as is defined

by the FMLA.

III.   STATEMENT OF FACTS

       8.      Plaintiff was employed by Defendant as a property manager from approximately

February 2017 until December 2020.

       9.      On or about March 12, 2020, Plaintiff informed Defendant that she was pregnant

and requested information on maternity leave.


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       10.     Defendant informed Plaintiff that it does not have a formal maternity leave policy

and that she would need to use FMLA medical leave for any time off. Defendant further informed

Plaintiff that her job would be protected under the FMLA.

       11.     On or about March 20, 2020, all of Defendant’s property managers, including

Plaintiff, were advised to download software in preparation for working from home due to the

COVID-19 pandemic and shutdowns.

       12.     On or about March 23, 2020, Defendant instructed its property managers to return

to work on premises.

       13.     On or about March 23, 2020, Plaintiff requested that she be permitted to work from

home because of being at a higher risk for contracting COVID-19 due to her pregnancy, age, and

underlying health conditions.

       14.     On or about March 31, 2020, Defendant approved Plaintiff’s request to work from

home, which commenced April 1, 2020.

       15.     On or about April 6, 2020, Plaintiff was approved for intermittent FMLA medical

leave due to her high-risk pregnancy (i.e., she was high-risk for contracting COVID-19) as well as

continuous FMLA medical leave following the birth of her child.

       16.     On or about September 16, 2020, Plaintiff gave birth to her child and then notified

Defendant that she was beginning her continuous FMLA leave.

       17.     Thereafter, on or about October 1, 2020, Plaintiff began working from home on an

intermittent basis with the approval of her general manager. Specifically, the general manager

informed Plaintiff that she could work from home when she was able to do so, that those hours

would not count against her FMLA leave, and that she did not have a minimum number of hours

each week.


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       18.     Plaintiff worked from home intermittently throughout October 2020 and November

2020 while she was on FMLA leave.

       19.     Defendant questioned Plaintiff about her return from FMLA medical leave on

multiple occasions, including on September 28, 2020, which was fewer than two (2) weeks after

Plaintiff gave birth to her child; on October 13, 2020 by employees including Plaintiff’s General

Manager, Mr. Charlie Stenner, and Defendant’s HR representative, Ms. Joyce Peoples; and on

November 2, 2020 from Mr. Stenner asking Plaintiff if she would be returning “roughly 15

November.”

       20.     When Plaintiff’s FMLA medical leave was extended on November 5, 2020 for the

full twelve (12) weeks due to the increased medical risks associated with COVID-19 and

breastfeeding, Defendant’s Regional Manager, Mr. Russell Underwood, and Defendant’s owner,

Ms. Lynn Dalton, began messaging and calling Plaintiff regarding her FMLA medical extensions.

Thereafter, the tone from Defendant’s representatives in subsequent communications drastically

changed, and, consequently, Plaintiff was frequently questioned about her FMLA extension.

       21.     On November 24, 2020, Plaintiff had a conference with HR representative Ms.

Peoples about her return to work; however, when Plaintiff stated she needed the time off because

of the concerns from working in a small office with the risks of COVID-19, Ms. Peoples quickly

interjected and said, “Oh, so you are resigning?,” to which Plaintiff stated, “No,” and Ms. Peoples

responded, “Well that’s what it sounds like, it sounds like you are resigning your position.”

       22.     On or about December 4, 2020, Defendant informed Plaintiff that she was no

longer allowed to work from home while on FMLA leave and that she either had to finish out the

remainder of her FMLA leave or come back to the office to work.




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       23.     On or about December 7, 2020, Plaintiff asked Defendant how many hours of

FMLA leave she still had available.

       24.     On or about December 15, 2020, Defendant’s HR representative emailed Plaintiff

to inform her that it was still calculating her remaining FMLA leave.

       25.     On or about December 17, 2020, Plaintiff informed Defendant of her health

concerns of working in the facility where multiple people had already contracted COVID-19 and

asked if there were any other options that would allow her to continue working remotely from

home, as she had been doing since April 2020, or if there were any other positions available that

would allow her to work from home, such as Plaintiff’s previous position as a leasing agent.

       26.     At no point did Plaintiff state that she would not return to work at the Pleasant

Valley Colony and Pleasant Valley Gardens location.

       27.     On or about December 28, 2020, Plaintiff asked Defendant if it had completed

calculating her remaining FMLA leave, to which Defendant replied they were still calculating the

amount of FMLA time remaining.

       28.     On or about December 29, 2020, Plaintiff asked Defendant again if it had completed

calculating her remaining FMLA leave.

       29.     On or about January 1, 2021, Plaintiff requested that Defendant provided her with

the Policy and Procedures for FMLA so she could determine how many hours of FMLA leave she

had remaining because Defendant was not providing her with this information.

       30.     On or about January 4, 2021, Plaintiff received an email from Defendant’s HR

representative requesting to schedule a team call on January 5, 2021.

       31.     On January 5, 2021, Plaintiff was informed by Defendant that she had

approximately ten (10) days of FMLA leave remaining, that her position at Pleasant Valley Colony


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and Pleasant Valley Gardens was being terminated because Plaintiff “caused a hardship to the

community,” and that Plaintiff was being transferred to another location but it did not know which

location.

       32.     On January 12, 2021, Plaintiff asked Defendant which location she was being

transferred to because she had not yet been given this information.

       33.     On January 14, 2021, Defendant notified Plaintiff via a transfer letter that Plaintiff

was to report to work on January 18, 2021 at the Helen Evans community in Marysville, Ohio.

       34.     January 18, 2021 was a paid holiday, so Plaintiff did not report to work that day.

       35.     Upon information and belief, Plaintiff’s FMLA leave exhausted on or about

January 18, 2021.

       36.     On January 19, 2021, Plaintiff spoke with Defendant’s Assistant Regional Vice

President, Ms. Whitney Cooperrider, and informed Ms. Cooperrider that the Helen Evans

community was substantially farther away from her home and her children’s school, unlike her

previous location which was one (1) minute from her home. Plaintiff also asked what she did to

cause a hardship in her previous community.

       37.     Defendant stated that it had used a poor choice of words but terminated Plaintiff

from that community because she was not working in the office.

       38.     Despite Defendant informing Plaintiff that her position had been terminated,

Defendant did not terminate Plaintiff’s position as a property manager and instead filled her

position with another employee.

       39.     Plaintiff never said that she would not work in-office at Pleasant Valley Colony and

Pleasant Valley Gardens. Plaintiff explained that she would work in-office and would even do so




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as a leasing agent, which was Plaintiff’s position before she became the Property Manager. Ms.

Cooperrider forwarded Plaintiff’s questions to HR.

         40.   On January 21, 2021, Ms. Cooperrider asked Plaintiff to return her computer and

other office equipment to the Pleasant Valley Colony and Pleasant Valley Gardens locations,

which Plaintiff did. Plaintiff emailed Ms. Cooperrider to confirm that she returned the equipment

and asked if HR had responded to her questions.

         41.   On January 22, 2021, Mr. Alan Knox, Defendant’s Associate Relations Specialist,

sent Plaintiff a letter stating that Plaintiff could either report to the Helen Evans location as the

Property Manager or the Pleasant Valley Colony and Pleasant Valley Gardens location as a leasing

agent.

         42.   Later that same day, Mr. Knox sent Plaintiff a revised letter stating that she was not

offered the leasing agent position at Pleasant Valley Colony and Pleasant Valley Gardens and

instead needed to report to Helen Evans on January 25, 2021.

         43.   Plaintiff submitted a vacation request, with the approval of Ms. Copperrider, for

January 19, 2021 to January 26, 2021. Ms. Copperrider directed Plaintiff to revise the vacation

request in Dayforce, the software Defendant utilized, to reflect an altered vacation request of

January 19, 2021 to January 25, 2021; however, the system would not allow Plaintiff to revise the

vacation request because it had already been approved.

         44.   On January 25, 2021, Plaintiff received a termination of employment letter from

Defendant.

         45.   Plaintiff immediately informed Defendant that she had an approved vacation day

for that day, to which Defendant never responded.




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       46.     Defendant discriminated or retaliated against Plaintiff for exercising her FMLA

rights by allegedly terminating Plaintiff’s position as Property Manager, attempting to transfer

Plaintiff to a location that was much farther away, failing to place Plaintiff in a lesser position of

leasing agent at her previous location, and ultimately terminating Plaintiff’s employment.

       47.     Defendant even stated it terminated Plaintiff’s employment because of the alleged

hardship Plaintiff’s FMLA leave caused Defendant, particularly, Plaintiff’s extension of FMLA

medical leave for the full twelve (12) weeks she was entitled to under the FMLA.

IV.    CAUSE OF ACTION

                                     CAUSE OF ACTION:
         29 U.S.C. §§ 2615, et seq. – FMLA Interference with Rights and Retaliation

       48.     All of the preceding paragraphs are realleged as if fully rewritten herein.

       49.     At all times relevant, Plaintiff was an “eligible employee” as defined by 29 U.S.C.

§ 2611(2).

       50.     At all times relevant, Defendant is an “employer” as defined by 29 U.S.C. §

2611(4)(A).

       51.     Plaintiff’s request for, and use of, FMLA leave beginning on or around September

16, 2020 and ending January 18, 2021 was for the birth of her child and in order to care for such

child as set forth in 29 U.S.C. § 2612(a)(1)(A).

       52.     During Plaintiff’s FMLA leave, Defendant purportedly terminated her position as

Property Manager at the Pleasant Valley Colony and Pleasant Valley Gardens location because

Plaintiff’s FMLA medical leave had “caused a hardship to the community.”

       53.     Defendant did not actually terminate the Property Manager position at the Pleasant

Valley Colony and Pleasant Valley Gardens location; rather, Defendant filled this position with

another employee.
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       54.     Defendant had an open leasing agent position available at the Pleasant Valley

Colony and Pleasant Valley Gardens location, which Defendant offered to Plaintiff and then

rescinded the offer the same day.

       55.     Defendant transferred Plaintiff to the Helen Evans location farther away and in a

different town; however, the day before Plaintiff was to return from FMLA leave and her approved

vacation, Defendant terminated Plaintiff’s employment.

       56.     Pursuant to 29 U.S.C. § 2615(a)(1), it is unlawful for an employer to interfere with

an employee’s right to exercise FMLA leave. An employer is also prohibited from discriminating

or retaliating against an employee who exercises a right under the FMLA. See 29 U.S.C. §

2615(a)(2).

       57.     Defendant has willfully and/or recklessly retaliated against, interfered with,

restrained, and/or denied Plaintiff’s rights in violation of the FMLA by (1) terminating Plaintiff in

retaliation for exercising her rights to use FMLA medical leave; (2) transferring Plaintiff to a

different facility in retaliation for exercising her rights to use FMLA medical leave; and/or (3)

refusing to restore Plaintiff to the same job or to an equivalent job.

       58.     As a result of Defendant’s interference and retaliation, Plaintiff was harmed in the

fact that she was unlawfully terminated while exercising her FMLA rights, denied benefits to

which she is entitled under the FMLA, and not restored to her prior job or an equivalent job.

       59.     Defendant lacked good faith to believe it had not violated the FMLA with its

actions.

       60.     As a direct and proximate result of Defendant’s actions, Plaintiff has suffered

damages, including but not limited to lost wages and benefits as well as time and money in




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endeavoring to protect herself from Defendant, comprised of costs and attorneys’ fees in

accordance with 29 U.S.C. § 2617(a).

V.     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands back pay and benefits, front pay and benefits, and

additional damages to be determined at trial, including but not limited to statutory damages,

compensatory damages, liquidated damages, pre-judgment interest, post-judgment interest, costs,

attorneys’ fees, and all other relief the Court deems just and appropriate.

                                               Respectfully submitted,

                                               COFFMAN LEGAL, LLC

                                               /s/ Matthew J.P. Coffman
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                                         JURY DEMAND

       Plaintiff requests a trial by a jury of eight (8) persons.

                                               /s/ Matthew J.P. Coffman   ___
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